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Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 1 of 46 Pena. Bisa COURT
LIST OF EXHIBITS AND WITNESSES t= +2044

Case Number — | CR 13-819 PA Title | USA v. THOMPSON, LT AL.

Judge PERCY ANDERSON, U.S. DISTRICT JUDGE CEN aera} Z Aron

Dates of Trial S214. 5/22/14, 5/27/14, 5/28/14, 5/29/14, 5/30/14, 6/3/14. 6/4/14, 6/5/14, 6/6/14, 6/10/14, 6/11/14, 6/12/14, 6/13/14
ores G/L T/I 4, 6/18/14, 6/19/14, 6/20/14, 6/23/14, 6/24/14, 6/25/14, 6/26/14/6/21/14 6/30/14 JO1/14

Court Reporters LEANDRA AMBER, ROSALYN ADAMS, DEBBIE HINO-SPAAN
or Tape No.

 

 

 

 

 

 

 

 

 

 

 

Deputy Clerks PAUL SONGCO, ISABLL MARTINEZ , KAMILLA SALI -SULEYMAN

 

 

 

 

 

Attorney(s) for Plaintiff(s) / Petitioner(s) Attorney(s) for Defendant(s) / Respondent(s)
BRANDON FOX AUSA DAVID STOTHERS, KEVIN MCDERMOTT
LIZ RHODES, AUSA PETER JOHNSON, WILLIAM GENEGO
MAGGIE CARTER, AUSA MATTHEW LOMBARD, MICHAEL STONE

 

MUNA BUSAILAH, ANGEL NAVARRO

 

 

 

 

Plaintiff(s) or Petitioner(s) Defendant(s) or
Respondent(s)
EXHIBIT DESCRIPTION / WITNESS Called By
Ex. No. Id. Ev. Ex. No. Id. Ky

 

Stephen Leavins (Testified: 6/12/14, 6/13/14, 6/17/14)

 

Scott Craig (Testified: 6/18/14, 6/19/1 4)

 

Michael Gennaco (Testified: 6/19/ 14)

 

Linda Lapham (Testified: 6/19/ 14)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

G-65 (03/07) LIST OF EXHIBITS AND WITNESSES Page of,
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United States v. Gregory Thompson, et al.
Exhibit List

= ce ao a

Email dated 08/18/11, 10:12 AM, from Gregory

L. Thompson to Chris J. Reddington, Roberto E.

Bayes, Gerard R. Smith, Jason E. Colon re:
Briefing on Brown case

   

   

LASD_080359.096

5/27/14

     

 

   

5/27/14

 

Email dated 08/18/11, 1:31 PM, from Gregory
L. Thompson to Roberto E. Bayes

A18376

5/27/14

5/27/14

 

Email dated 08/18/11, 5:06 PM, from Steven M.
Martinez to Leroy D. Baca, re: Please call

LASD_230199; A83309

5/27/14

5/27/14

 

Email chain ending 08/19/11, 12:05 PM, with
email from Gerard R. Smith to Mickey S.
Manzo

LASD_ 104557

5/27/14

5/27/14

 

Recording of Anthony Brown Interview
08/19/11

5/28/14

 

Recording of Anthony Brown Interview
08/19/11 Excerpts

5/28/14

5/28/14

 

Transcript of Anthony Brown Interview
08/19/11 Excerpts

5/28/14

 

Recording of Anthony Brown Interview
08/21/11 a.m.

5/28/14

 

 

 

Recording of Anthony Brown Interview
08/21/11 am. Excerpts

 

 

5/28/14

5/28/14

 

 

 

 
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Transcript of Anthony Brown Interview
08/21/11 a.m. Excerpts

5/28/14

 

 

11

Recording of Anthony Brown Interview

 

 

 

 

 

 

 

 

 

 

 

5/28/14
08/21/11 p.m. Part 1
12 | Recording of Anthony Brown Interview 5/28/14
08/21/11 p.m. Part 2
13 | Recording of Anthony Brown Interview 5/28/14
08/21/11 p.m. Excerpts
14 | Transcript of Anthony Brown Interview 5/28/14
08/21/11 p.m. Excerpts
15 | Recording of Anthony Brown Interview 5/28/14
08/23/11
16 | Recording of Anthony Brown Interview 5/28/14 5/28/14
08/23/11 Excerpts
17 | Transcript of Anthony Brown Interview 5/28/14
08/23/11 Excerpts
18 | Recording of Anthony Brown Interview 5/28/14
08/24/11, Part 1
19 | Recording of Anthony Brown Interview 5/28/14
08/24/11, Part 2
20 | Recording of Anthony Brown Interview 5/28/14 5/28/14
08/24/11 Excerpts
21 | Transcript of Anthony Brown Interview 5/28/14

08/24/11 Excerpts

 

 

 

 

 

 
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Recording of Anthony Brown Interview
08/26/11

5/28/14

 

 

 

 

 

 

 

 

 

 

 

 

23 | Recording of Anthony Brown Interview 5/28/14 5/28/14
08/26/11 Excerpts
24 | Transcript of Anthony Brown Interview 5/28/14
08/26/11 Excerpts
25 | Recording of Anthony Brown Interview 09/2/11 5/28/14 5/28/14
26 | Transcript of Anthony Brown Interview 09/2/11 5/28/14
27 | Email chain ending 08/15/1 1, 11:01:01 AM, LASD_329154 to 3/27/14 5/27/14
with email from Judy A. Gerhardt to Stephen E. | LASD_ 329164
Leavins re: FW: Discovery Xerox
28 | Email dated 08/30/11, 5:15 PM, from Judy A. LASD_257190 to 5/27/14 $/27/14
Gerhardt to Christopher P. Nee re: FW: FBI LASD_ 257214
Subpoenas
29 | ICIB Task Force Roster 09/20/11 LASD_268248 5/29/14 5/29/14
30 | Grand jury subpoenas LASD received from June 5/30/14 5/30/14
to October 2011
31 | Email chain ending 08/24/11, 9:30 AM, with LASD _238298.0153 to 5/27/14 5/27/14
email from Cecil W. Rhambo to Gregory L. LASD _238298.0154
Thompson, Re: OSJ WEEKLY INTEL
32 | Email chain ending 08/24/11, 10:06:55 AM, LASD_ 335816 5/27/14 5/27/14

 

with email from Steven G. Spackman to William
T. Carey, Re: Re

 

 

 

 

 
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Email chain ending 08/26/11, 9:39 AM, with
email from Stephen E. Leavins to Gregory L.
Thompson re: Documents for Grand Jury
Subpoena

Ss Es

LASD_ 324014

5/27/14

 

5/27/14

 

 

34

Email chain ending 8/24/11, 11:46 AM, with
email from Gregory L. Thompson to Mickey S.
Manzo and Stephen E. Leavins

LASD_080359.035

5/27/14

5/27/14

 

35

Email chain ending 08/24/11, 9:39 PM, with
email from Gregory L. Thompson to
Christopher P. Nee

LASD_ 257119 to
LASD_257120

5/27/14

5/27/14

 

36

Email dated 08/25/11, 12:45 PM, from Gregory
L. Thompson to Custody Captains; Custody Ops
Lts, CC: to Custody Commander, MCJ Jail
Liason re: Inmate Interviews

LASD_257127

5/27/14

5/27/14

 

37

Email dated 08/24/11, 11:17 PM, from Gerard
R. Smith to Carlos Castillo; Noah J. Kirk:
Sterling G. Haley; Joseph T. Eiland; Calvin E.
Lane Jr.; Justin J. Crumlish; Jason E. Colon;
Matthew G. Thompson; James M. Sexton;
Michael C. Rathbun; John J. Bonner; Robert W.
Staggs, CC: to Mickey S. Manzo; Gregory L.
Thompson; David J. Gutierrez, re: Confidential

LASD_080359.007 to
LASD_080359.008

$/27/14

5/27/14

 

38

 

 

Email dated 08/24/11, 9:31 PM, from Mickey S.
Manzo to Stephen E. Leavins, Scott A. Craig,
Maricela Long; Gerard R. Smith; and Gregory
L. Thompson, re: ITMS Info

 

LASD_245415

 

5/27/14

 

3/27/14

 

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Email chain ending 08/25/11, 9:37 AM, with
email from Noah J. Kirk to Gerard R. Smith;
Sterling G. Haley; Justin J. Crumlish; Calvin E.
Lane Jr.; Joseph T. Eiland; Carlos Castillo;
Matthew G. Thompson; Ryan G. Ortiz; Jason
W. Pearson; James M. Sexton; Michael C.
Rathbun; Robert W. Staggs; John J. Bonner,
CC: to Mickey Manzo, re: RE: schedule

 

LASD_080359.034

 

5/27/14

 

Ss

5/27/14

 

 

 

 

 

 

 

 

 

 

40 | Federal Court Writ for the Grand Jury 5/29/14 5/29/14 (provisionally)
Testimony of Anthony Brown, dated 08/25/11
41 | Phone records for US Marshal Service fax 5/29/14 5/29/14 (provisionally)
machines
42 | Phone record for LASD Inmate Reception 5/29/14 35/29/14 (provisionally)
Center fax machine
43 | Inmate Release Processing Record for Inmate LASD_080458 5/29/14 5/29/14
Anthony Brown, Booking Number 2009547
44 | Inmate Case Summary Information Record for LASD 201259
Inmate Anthony Brown, Booking Number
2009547
45 | Copy of Records Jacket for Inmate Anthony LASD_080362 to 5/30/14 5/30/14
Brown, Booking Number 2009547 LASD_080493
46 | Copy of Records Jacket for Inmate Anthony A43071 to A43074; 5/30/14 5/30/14
Brown, Booking Number 2874104 LASD_275746 to
LASD_275762
47 | Inmate Total Movement History Record for LASD 080516 5/29/14 5/29/14

Inmate Anthony Brown, Booking Number
2009547, printed on 01/19/12

 

 

 

 

 

 
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48 | Original Calendar Book for 2011, including for LASD_245353 to 5/29/14 5/29/14
08/22/11 to 08/31/11 LASD_245357
49 | “Smith, G 431549” Notebook
50 | “Daily Activities” Notebook 5/29/14 5/29/14 (Provisionally)
31 | “G” Notebook 5/29/14 5/29/14 (Provisionally)
52 | “DONE 11-1-11” Notebook 5/29/14 5/29/14 (Provisionally)
53 | Booking record for “John Rodriguez,” Booking | A45203 to A45216 (produced | 5/29/14 5/29/14
Number 2855633 by LASD at
LASD_208271 to
LASD_208284)
54 | Inmate Information Center Record for “John LASD 080602 to 5/29/14 5/29/14
Rodriguez,” Booking Number 2855633 LASD_080603
55 | Booking record for “Kevin King,” Booking LASD_245355 5/29/14 5/29/14
Number 2856795
LASD 192751 to 192770
56 | Inmate Information Center Records for “Chris LASD_ 080604 to 5/29/14 5/29/14
Johnson,” Booking Number 2863148 LASD_080605
57 | Inmate Total Movement History Record for LASD_080511 to 5/29/14 5/29/14
“Chris Johnson,” Booking Number 2863148 LASD_080513
58 | Inmate Information Center Record for Inmate LASD_080600 to 5/29/14 5/29/14
Anthony Brown, Booking Number 2874104, LASD _080601
printed on 09/12/11

 

 

 
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59

 

 

 

 

 

 

 

 

 

 

 

Inmate Information Center Record for Inmate A112243 6/4/14 6/4/14
Anthony Brown, Booking Number 2009547,
printed 08/26/11
60 | Email chain ending 08/26/11, 10:50 AM, with LASD_258054 to 5/27/14 5/27/14
email from Gregory L. Thompson to Ralph G. LASD_258055
Ornelas and William T. Carey
61 | Email chain ending 08/26/11, 10:47:41 AM, LASD_327645 §/27/14 5/27/14
with email from Gregory L. Thompson to
William T. Carey
62 | Email chain ending 08/26/11, 10:56 AM, with LASD_258057 5/27/14 5/27/14
email from Gregory L. Thompson to William T.
Carey, re: FW: Court Order presented by
Federal Officers
63 | Email chain ending 08/29/11, at 12:01 PM, with | LASD_080359.080 5/27/14 5/27/14
email from Mickey S. Manzo to Gregory L.
Thompson p.m., RE: Cell-Phone Inv.
64 | Handwritten Letter from Inmate Anthony LASD_234141 to 5/29/14 6/6/14
Brown, to Lt. Steve & Capt. Tom, Sgt. Long, LASD_234165
Sgt. Grey, dated 09/03/11
65 | Handwritten Declaration of Inmate Anthony LASD 234166 to 5/29/14
Brown, AB Declaration re not cooperating with {| LASD 234170
FBI
66 | LASD Time Cards for IRC Employees for LASD_209714 to
08/22/11 to 08/31/11 LASD 209874
67 | Phone summary chart 08/18/11 to 08/30/11 6/5/14 6/5/14
68 | Phone summary chart 09/08/11 to 10/03/11 6/5/14 6/5/14

 

 

 

 

 

 
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Summary Chart with Phone Numbers
Associated with LASD

6/5/14

 

6/5/14

 

70

Email dated 09/08/11, at 3:03 PM, from
Gregory L. Thompson to Custody Captains,
Custody Commander, CC: to Cecil W. Rhambo,
Dennis H. Burns, Alexander R. Yim, and
Richard J. Barrantes, Subject: FBI requests for
inmate interviews

LASD 258068

5/27/14

5/27/14

 

71

Email dated 09/09/11, 4:41:27 PM from
William T. Carey to Stephen E. Leavins

LASD_CR-13-819-PA_00052
1

5/27/14

5/27/14

 

72

Email chain ending 09/09/11, 1:51 PM, with
email from Sterling G. Haley to Gerard R. Smith

LASD_080359.141 to
LASD_080359.142

5/27/14

5/27/14

 

73

Email chain ending 09/12/11, 6:28 PM, with
email from James M. Sexton to Raymond R.
Cardenas, CC: to Gregory L. Thompson, David
J. Gutierrez, William G. Gilbert; Eliel K.
Teixeria; Giovanni A. Paterno; Jason W.
Pearson; Mickey S. Manzo; Gerard R. Smith, re:
Brown, Anthony #2874104

LADS _080359.001

5/27/14

5/27/14

 

74

Email dated 09/13/11, 12:43 PM, from Gerard
R. Smith to Carlos Castillo; Jason E. Colon;
Justin J. Crumlish; Joseph T. Eiland; Sterling G.
Haley; Noah J. Kirk; Calvin E. Lane Jr.; Ryan
G. Ortiz; Jason W. Pearson; Michael C.
Rathbun; James M. Sexton; Matthew G.
Thompson, CC: to Mickey S. Manzo, re:
SECURITY DETAIL

LASD_080359.036

5/27/14

5/27/14

 

 

75

 

Grand Jury Testimony of Stephen Leavins

 

 

6/4/14

 

 

 

 
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Recording of William Courson Interview LASD_105344 5/28/14 5/28/14
08/30/11

77 | Transcript of William Courson Interview 5/28/14
08/30/11

78 | Recording of Gilbert Michel Interview LASD_105344 5/28/14
08/30/11, part 1

79 | Recording of Gilbert Michel Interview 5/28/14
08/30/11, part 2

80 | Recording of Gilbert Michel Interview 08/30/11 5/28/14 5/28/14
Excerpts

81 | Transcript of Gilbert Michel Interview 8/30/11 5/28/14
Excerpts

82 | Grand Jury Testimony of Jason Pearson 5/30/14

83 | Email dated 09/08/11, at 2:33:19 PM, from LASD_CR_13-819-PA_0011 | 5/27/14 5/27/14
William A. Cassidy, to Stephen E. Leavins, 18 to
Subject: sup rpt — dep Caruso LASD CR_13-819-PA_0011

25

84 | Statement of Probable Cause of Affiant Sergeant | LASD 234185 to $/29/14 5/29/14
Scott A. Craig LASD 234188

85 | Proposed Order for Investigative Records, dated | LASD_ 234183 to 5/29/14 $/29/14
09/07/11, denied “Court has no jurisdiction over | LASD_234184
any federal agency,” 09/08/11

86 | Email chain ending 09/07/11, at 5:30:09 PM LASD_CR-13-819-PA 00113 | 5/27/14 5/27/14

 

with email from Christopher P. Nee to Stephen
E. Leavins

 

7

 

 

 

 
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2S a

Recording of Phone Message from Scott Craig

 

 

 

 

 

 

 

 

 

 

 

 

LASD_ 105346 5/28/14 6/4/14

to Leah Marx, 09/09/11

88 | Transcript of Phone Message from Scott Craig 5/28/14
to Leah Marx, 09/09/11

89 | Email chain ending 09/12/11, at 9:43:34 AM, LASD_CR-13-819-PA_00203 | 5/27/14 5/27/14
with email from William T. Carey to Scott A. 0 to
Craig, Maricela Long, CC: to Stephen E. LASD_CR-13-819-PA_00203
Leavins, re: FW: Retaliation allegations list 9

90 | Email dated 09/12/11, at 3:42:10 PM, from LASD_CR-13-819-PA001076
Gerald K. Cooper to Stephen E. Leavins

91 | Email dated 09/13/11, at 3:48 PM, from Stephen LADS _258069 §/27/14 5/27/14
E. Leavins to William T. Carey

92 | Email dated 09/24/11, at 10:33:39 PM, from LASD_CR-13-819-PA_00199 | 5/27/14 5/27/14
Mickey S. Manzo, to Scott A. Craig, Maricela 6
Long, CC: to Stephen E. Leavins, Gerard R.
Smith, re: FW: FBI probing reports of beatings
in L.A. County jails

93 | Special Operations Group Surveillance Log of LASD_ 105345 6/6/14 6/6/14
Target Leah Marx, 09/13/11

94 | Special Operations Group Surveillance Log of LASD_ 105345 6/6/14 6/6/14
Target Leah Marx, 09/14/11

95 | Special Operations Group Surveillance Log of LASD_ 105345 6/6/14 6/6/14
Target Leah Marx, 09/26/11

96 | Special Operations Group Surveillance Log of LASD_ 105345 6/6/14 6/6/14
Target Leah Marx, 09/28/11

97 | S.0.G. Weekly Report 08/29/11 LASD_298776 6/6/14 6/6/14

 

 

 

 

 

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S.0.G. Weekly Report 09/05/11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LASD_298476 6/6/14 6/6/14
99 | S.0.G. Weekly Report 09/12/11 LASD_ 298477 6/6/14 6/6/14
100 | S.0.G. Weekly Report 09/19/11 LASD_298474 6/6/14 6/6/14
101 | S.0.G. Weekly Report 09/25/11 LASD_298475 6/6/14 6/6/14
102 | LASD Surveillance Request by Sgt. Craig for LASD_285701 to 6/6/14 6/6/14
Surveillance of David C. Lam LASD_285702
103 | Special Operations Group Surveillance Log of LASD_285711 to 6/6/14 6/6/14
Target David Lam, 09/28/11 and 09/29/11 LASD_285712
104 | ICIB search for DMV record for Wayne LASD_298752 to 5/29/14 5/29/14
Plympton LASD_285753
105 | ICIB search for DMV record for David Dahle LASD_298755 to 5/29/14 53/29/14
LASD_285756
106 | ICIB Task Force Weekly Report: 09/11/11 to LASD_320246.0258 to
09/17/11 LASD_320246.0261
107 | Email chain ending 09/25/11, at 10:33:56 AM, LASD_329089 to 5/27/14 5/27/14
with email from Paul K. Tanaka, to Stephen E. LASD_329091
Leavins, Subject: RE: Justice Department boosts
activity to police the police
108 | Video Recording of Approach of Leah Marx, LASD_298475 5/28/14 5/28/14
09/26/11
109 | Audio Recording of Approach of Leah Marx, 5/28/14 5/28/14
09/26/11
110 | Transcript of Recording of Approach of Leah A112782 to A112783 3/28/14
Marx, 09/26/11
11

 

 
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111

Synched audio, video and transcript of
Approach of Leah Marx, 09/26/11

FBI contact movie

6/4/14

 

6/4/14

 

112

Recording of Phone Call from Carlos Narro to
Maricela Long, 09/26/11

5/28/14

6/5/14

 

113

Transcript of Phone Call from Carlos Narro to
Maricela Long, 09/26/11

A112784-85

5/28/14

 

114

Grand Jury Testimony of Maricela Long

6/4/14

 

115

Grand Jury Testimony of Scott Craig

6/4/14

 

116

Excerpts from ICIB Report re: Gilbert Emanuel
Michel

LASD_ 104481 to
LASD_104572

5/29/14

6/5/14

 

117

Email chain ending 12/22/11, at 1:08:18 PM,
from Gregory L. Thompson to Stephen E.
Leavins

LASD_328833

6/17/14

6/17/14

 

118

Email chain ending 10/09/11, at 10:32:44 AM,
from Merrill E. Ladenheim to Stephen E.
Leavins, re: RE: (eNews) Ex-deputy says he,
others used improper force on immates, Baca
says ... in a letter that the information led him
to create a task force to examine a growing
number of allegations of deputy misconduct in
the jails.

LASD_328951 to
LASD_328953

6/17/14

6/17/14

 

119

Email chain ending 07/21/12, 11:20:15 AM,
from William T. Carey to Stephen E. Leavins

LASD_333809

6/17/14

6/17/14

 

120

 

 

Summary of Grand Jury Subpoenas received by
LASD from June to October 2011

 

 

5/30/14

 

 

12

 
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121 | Email dated 09/26/11, at 6:39:50 PM, from LASD_CR-13-819-PA_00081 | 5/27/14 5/27/14
Scott A. Craig, to Stephen E. Leavins, re: 2
Emailing: Marx 09-26-11
122 | Email dated 08/26/11 from Yolanda Baines to
Lawrence Middleton
123 | AT&T Records of 909-815-8064 (Gerard 6/5/14 6/5/14
Smith)
124 | AT&T Records of 323-683-7618 (Maricela 6/5/14 6/5/14
Long)
125 | Verizon Records of 714-803-1197 (Scott Craig) 6/5/14 6/5/14
126 | Verizon Records of 323-574-1782 (Scott Craig), 6/5/14 6/5/14
323-693-6570 (Greg Thompson), 323-819-0185
(Maricela Long)
127 | Verizon Records of 323-243-4099 (Stephen 6/5/14 6/S/14
Leavins)
128 | Verizon Records of 562-318-4637 (Mickey 6/5/14 6/5/14
Manzo)
129 | Summary Chart of Phone Records 8/26/11 to
10/3/11
130 | Grand Jury Testimony of James Sexton
131 | LASD Time Cards for Defendant James Sexton LASD_202470 to
for 08/07/11 to 10/22/11 LASD_202471
132 | Email chain ending 09/12/11, at 12:55 PM, from | A51690.0000621 to
Eliel K. Teixeira to James M. Sexton, Subject: A51690.0000622
RE: Operation Pandora’s Box
13

 

 
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Inmate Information Center Records for “John LASD_080514 5/29/14 5/29/14
Rodriguez,” Booking Number 2855633

134 | List of Emails found in LASD System S/27/14 5/27/14

135 | Stipulation re: documents 5/29/14

136 | Stipulation re: recordings 5/28/14

137 | Gilbert Michel Plea Agreement 6/3/14 6/19/14

138

139

140

141

142

143

144

145 | Leavins County Cell Chart

146 | Craig personal cell to Ruben Martinez Cell chart

147 | Long County issued cell chart

148 | Thompson County issued Cell Chart

149

 

Carey County Cell to Tanaka County Cell/Desk
Line

 

 

 

 

14

 
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150

 

 

151

Manzo Personal Cell

 

152

 

153

 

154

 

155

 

156

 

157

 

158

 

159

 

160

 

161

 

162

 

163

 

164

 

165

Grand Jury Testimony of Gus Academia

5/30/14

 

166

 

 

167

 

 

 

 

15

 

 

 

 

 
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169

170

171

172

173 | Thompson Email Chain 8/20/11 6/4/14

174 | Miranda Email Chain 8/23/11 6/4/14

175 | Gilbert Email 8/23/11 6/4/14 6/19/14
176 | Fedele Email Chain 8/23/11 6/4/14

177 | Manzo Email 8/24/11 6/4/14 6/4/14
178 | Thompson Email Chain 8/26/11 6/4/14 6/4/14
179 | Thompson Email Chain 8/26/11 6/4/14 6/4/14
180 | Smith Email 8/27/11 6/4/14 6/4/14
181 | Thompson Email Chain 9/2/11 6/4/14 6/4/14
182 | Smith Email 9/3/11 6/4/14 6/4/14
183 | Smith Email 9/7/11 6/4/14 6/4/14
184 | Sexton Email 9/12/11 6/4/14 6/4/14
185 | Manzo Email 9/24/11 6/4/14

 

 

 

 

 

 

16

 

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 18 of 46 Page ID #:4535

 

 

6/4/14

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

186 | Thompson Email Chain 9/28/11
187 | Thompson Email Chain 12/1/11 6/4/14
188 | Thompson Email Chain 12/19/11 6/4/14
189 | Thompson Email Chain 12/27/11 6/4/14
190 | Thompson Email Chain 12/27/11 6/4/14
191 | Thompson Email Chain 2/9/12 6/4/14
192 Shaughnessy Email 9/27/11 6/4/14
193 | Shaughnessy Email 9/29/11 6/4/14
194 | Shaughnessy Email 9/15/11 6/4/14
195 | Soto Email Chain 9/16/11 6/4/14
196 | Shaughnessy Email 9/23/11 6/4/14
197 | Cassidy Email Chain 9/8/11 6/4/14
198 | Smith Email 10/13/11 6/4/14
199 .
200 | Tanaka FBI Interview Transcript 6/10/14
201 | Tanaka Grand Jury Testimony Transcript 6/10/14
12/19/12
202 | Craig Email Chain 12/5/11 6/10/14

 

 

 

 

 

17

 

 

 

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 19 of 46 Page ID #:4536

x eS

Manzo Email Chain 12/14/11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

203 6/10/14

204 | Manzo Email Chain 12/14/11 6/10/14

205 | Leavins Email Chain 2/29/12 6/10/14 6/20/14
206 | Transcript of Carey’s Prior Trial Testimony 6/11/14

207 | Leavins Email Chain 12/2/11 6/19/14

208 | Leavins Email Chain 9/8/11 6/19/14 6/19/14
209 | Gilbert Email Chain 8/24/11 6/19/14 6/19/14
210 | Thompson Email to Leavins 8/30/11 6/17/14 6/17/14
211 | Thompson Email Chain 1/26/12 6/19/14

212 | Thompson Email Chain 9/7/11 6/19/14 6/19/14
213 | Craig Email Chain 9/9/11 6/19/14 6/19/14
214 | Carey Email Chain 12/1/11 6/19/14 6/20/14
215 | LASD Report On Use of Force 9/9/11

216 | Grand Jury Testimony of Sterling Haley 6/12/14

217 | Grand Jury Testimony of Stephen Leavins 6/13/14

218 | Sotelo Email to Leavins 9/9/11

219

220 | Powell Email to Leavins 9/9/11

 

 

 

 

 

 

18

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 20 of 46 Page ID #:4537

221

 

 

 

 

 

 

 

 

 

 

 

LASD Policies re: witnesses 6/17/14 6/17/14
222 | California Penal Code Section 4573 6/17/14 6/17/14 (Demonstrative)
223 | Trial Transcript of Testimony of Stephen 6/17/14
Leavins on 6/13/14
224 | Declaration Index
225 | Stipulation Re: Emails 6/19/14
226 | Rutherford v. Baca — Plaintiff's Notice of Filing
of Report Concerning Violence in LA County
Jails
227
228 | Transcript of Craig interview of Bravo — 8/30/11
229 | Scott Craig Grand Jury Testimony 6/17/14
230

 

 

 

 

 

 

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Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 21 o0f 46 Page ID #:4538

 

 

DEFENDANT GREGORY THOMPSON’S EXHIBIT LIST

 

 

 

 

 

 

 

 

 

 

 

 

 

Exh. No. Description Identified Admitted
3003 Application for writ 6/10/14 6/10/14
3004 A__| Middleton - Baines email chain 8/26/11 5/30/14 6/11/14
3004 B | Middleton - Baines email chain 8/26/11 5/30/14 6/11/14
3005 Marx - Baines email — Sealed writ 9/27/12 5/30/14 6/20/14
3014A__| Baines — Jennings email 8/24/11 6/19/14 6/19/14
3014B | Baines — Jennings email 8/25/11 6/19/14 6/19/14
3015 Brightman writ 8/25/11 5/30/14 6/19/14
3041 Ex parte application to seal documents 6/11/14 6/11/14
3042 Order sealing document 6/11/14 6/11/14
3047 Timecard Records of Thompson 6/19/14 6/19/14
3048 Timecard Records of Thompson 6/19/14 6/19/14

 

 

 

 

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 22 of 46 Page ID #:4539

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LEAVINS
Trial Exhibit List
Nei Exhibit Description Date Identified Date Admitted
Exhibit | Organizational Structure of 6/12/14 6/12/14
1500 LASD 2011
Exhibit 6/12/14
“1501 ICIB Seal
uy September 26, 2011
x . ra Letter from Baca to U.S.
Atty. Birotte
August 29, 2011
Exhibit Emails to Attorney
1503 Yoshinaga from Thompson
and Manzo
“ps August 22, 2011
nt a FBI Attachments to Report
by FBI Agent David Lam
August 29, 2011 6/13/14 6/13/14
Exhibit | Email and attachment from
1505 Leavins to Attorney
Yoshinaga
Exhibit August 31,2011 6/13/14 6/17/14
1506 Email and attachment from
Leavins to Attorney
Yoshinaga
Exhibit September 2, 201 1
1507 Email from Leavins to
Attorney Yoshinaga
ve September 2011 Email and
Exhibit Letter from Baca to FBI
1508 .
Director
va October 3, 2011 6/13/14 6/17/14
Exhibit . .
Email to Leavins from Set.
1509 .
Craig
ys August 29, 2011
m* Sot Lawrence Middleton Notes
of Meeting at the

 

 

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 23 of 46 Page ID #:4540

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

U.S. Attorney’s Office,
Birotte and Baca
Exhibit Sheriff Baca - Calendar
1511 September - October 2011
Exhibit FBI Law Enforcement
Bulletin - Cell Phones in
1512 .
Prison
we Gilbert Michel
mx ae ICIB Complaint Report w/
attachments
me August 24, 2011
* aa Transcript of G. Michel & A.
Caruso FBI Interviews
Exhibit
1515
Email chain ending
Exhibit | September 27, 2011 between
1516 U.S. Attorney Birotte and
FBI ADIC Martinez
Email chain ending August
Exhibit | 25, 2011 between FBI ADIC
1517 Martinez and FBI ASAC
Delaney
August 25, 2011
Exhibit Email from FBI ADIC
1518 Steven Martinez to Sheriff
Baca
we: FBI Timeline
* Sot re: investigation of LASD
involving Anthony Brown
Email chain ending
Exhibit September 28, 2011, FBI
1520 Executives, Staff, and Press
Relations
Exhibit | August 25, 2011 Email From
1521 FBI Martinez to Staff
ub: July 8, 2013 FBI
Exhibit Steven Martinez 302 Report
1522 .
of Interview

 

 

 

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 24 of 46 Page ID #:4541

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit August 19, 2011
1523 Email FBI staff to Martinez
Exhibit August 18, 2011
1524 Email chain Steven Martinez
& FBI staff
:, | August 24, 2011 Email chain
* aaa between AUSA Middleton
and US Marshall Farrar
Exhibit August 30, 2011 '
1526 Email from FBI Supervising
SAC. Narro to FBI Moon
Exhibit Email chain ending on
1527 September 1, 2011 between
Atty. Yoshinaga
"Exhibit September 9, 2011
1528 Email from Capt. Carey re:
Discovery Request Procedure
us May 3, 2014
x Sot FBI ASAC Peter Angelini
302 Report of FBI Interview
September 7, 2011 Email
Exhibit exchange between ASAC
1530 Peter Angelini and staff re
the LASD Investigation
ys ASAC Peter Angelini
m a Information re 2002 Case
involving LASD
August 8, 2011, at 8:30 AM
Exhibit | LASD Incident Report re:
1532 Brown being found with a
cellular phone in jail
Exhibit Photos of the cellular phone
1533 Brown was in possession of
at MCJ
August 8, 2011
Exhibit | LASD Phone Exam Report
1534 with call and text message
log
Exhibit | September 28, 2011 Gilbert

 

 

 

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 25 of 46 Page ID #:4542

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1535 Michel FBI Interview —
-.., | Email chain ending October
* Se 13, 2011 — Lt. Leavins to
Judy Gerhardt
Exhibit October 7, 2011
Email from Maricela Long to
1537 .
Leavins
we October 3, 2011
Exhibit Email Scott Craig to Lt.
1538 .
Leavins
Exhibit September 28, 2011
1539 LASD Email
Exhibit | FBI Bulletin — Cell Phones
1540 as Prison Contraband
us Cell phones - the new
™ at contraband — published May
4, 2009 by “corrections.com”
September 02, 2011
Exhibit | Memorandum Dennis Burns,
1542 Chief Custody Ops to Capt.
Carey
1: August 29, 2011
Exhibit Email Lt. Leavins to U/S
1543
Tanaka
January 22, 2013 Email Judy
Exhibit | Gerhardt re Leavins Grand
1544 Jury Subpoena for January
30, 2013
January 18, 2013
Exhibit Grand Jury Subpoena for
1545 Leavins Appearance date
January 30, 2013
Exhibit | ICIB Report Approved 12-20
1546 2011
Exhibit August 29, 2011 Draft Letter
from Tom Carey to Sheriff
1547
Baca
Exhibit
1548

 

 

 

 
 

Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 26 of 46 Page ID #:4543

 

Exhibit
1549

 

Exhibit
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Exhibit
1551

 

Exhibit
1552

 

Exhibit
1553

 

Exhibit
1554

 

Exhibit
1555

Email from Carlos Narro

6/5/14

 

Exhibit
1556

Leavins Memo

6/11/14

 

Exhibit
1557

 

Exhibit
1558

 

Exhibit
1559

 

Exhibit
1560

FBI 302 Report dated
8/25/11

5/29/14

 

Exhibit
1561

FBI-1023 FBI CHS
Reporting Document

5/29/14

 

Exhibit
1562

 

Exhibit
1563

 

Exhibit
1564

 

Exhibit
1565

 

Exhibit
1566

 

Exhibit
13567

 

 

Exhibit

 

 

 

 

 

 
Case 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 27 of 46 Page ID #:4544

 

 

 

 

 

 

 

 

 

 

 

1568
..:, | CD of Audio Recordings of 6/19/14 6/19/14
Exhibit .
1569 Brown Interview on 8/21/11,
8/23/11 and 8/24/11
Exhibit Transcript of 8/21/11 Audio 6/19/14
Recording of Brown
1570 :
Interview
Exhibit Transcript of 8/23/11 Audio 6/19/14
Recording of Brown
1571
Interview
Exhibit Transcript of 8/24/11 Audio 6/19/14
Recording of Brown
1572 :
Interview

 

 
 

 

 

 

 

Case 2)13-cr-00819-PA Document 455 Filed 07/01/14 Page 28 of 46 Page ID #:4545
1 | WILLIAM J. GENEGO, SBN 103224
2 | E-Mail: bill@genegolaw.com
LAW OFFICE OF WILLIAM GENEGO
3 2115 Main Street
4|| Santa Monica, California 90405
5 Telephone: 310-399-3259
Counsel for GERARD SMITH
6
7 || MATTHEW J. LOMBARD, SBN 239910
E-Mail: mlombard@lombardlaw.net
8 || LAW OFFICES OF MATTHEW LOMBARD
g| 2115 Main Street
Santa Monica, California 90405
10] Telephone: 310-399-3259
11} Counsel for MICKEY MANZO
12
3 UNITED STATES DISTRICT COURT
4 CENTRAL DISTRICT OF CALIFORNIA
15 | UNITED STATES OF AMERICA, CASE NO CR 13-819-PA
16 Plaintiff, EXHIBIT LIST OF GERARD
17 VS. SMITH AND MICKEY MANZO
1g | GREGORY THOMPSON, et al., .
Trial: May 27, 2014
19 Defendants. Time: 8:30 A.M.
Courtroom: 15
20
21 Gerard Smith and Mickey Manzo, by counsel, submit the following list of
22 | trial exhibits.
23 Dated: May 27, 2014 Respectfully submitted,
24! LAW OFFICES OF MATTHEW LAW OFFICE OF WILLIAM GENEGO
25 | LOMBARD .
26|| By: /s/ Matthew J. Lombard By: /s/ William J_ Genego
27 Counsel for MICKEY MANZO Counsel for GERARD SMITH
28
5-26-2014

 

 
Case 2)13-cr-00819-PA Document 455 Filed 07/01/14 Page 29 of 46 Page ID #:4546

 

 

 
   

 

 

 

 

 

 

 

 

l EXHIBIT LIST
2
3
1001 | Incident Report 5/28/14 6/12/14
5
é 1002 | Print Requested
7 1003 | Phone Exam Report 5/28/14
g 1004 | Application and Order for Removal of 5/28/14
Phone Privileges
? 1005 | 8-9-11 Det. Bayes Request For Sprint 5/28/14
10 Records
11 1006 | Sprint Records 5/28/14
12} 1007 | Dep. Buckley and Dep. Jarvis memo 5/28/14 6/12/14
13} 1008 | Dep. Colon Memo of 8-16-11 re 5/28/14
14 interview of Brown
15} 1009 | Brown pay & owe sheet to Colon 5/28/14

 

16 1010 | 8-16-11 Dep. Colon email to Dep. Smith
with memo of Brown interview

 

 

 

 

 

 

 

 

 

 

17

18 1011 | Colon Memo

19 1012 | 8-16-11 Lt. Thompson email to Sgt. 5/28/14 6/12/14
Reddington, Dep. Smith, Det. Bayes, and

20 Dep. Colon _

21] 1013 | 8-16-11 Sgt. Conley email to Captain 5/28/14 6/12/14

. Ornelas

22

73 Nos. 1014-1016 Intentionally Left Blank
(ILB)

24 1017 | 8-17-11 Det. Bayes Memo to Lt. 5/28/14

25 Thompson |

26] 1018 | 8-17-11 Det. Bayes 2" Request for Sprint
Records

27

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13-cr-00819-PA Document 455 Filed 07/01/14 Page 30 of 46 Page ID #:4547

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I
2 a 3 SS St SSE SSS
3] 1019 | 8-17-11 Soffa email to Dep. Smith with | 6/12/14 6/12/14
4 Visiting records
1020 | Screen shot of Soffa email to Dep. Smith
5 with visiting records
6 Nos. 1021 — 1024 ILB
7 1025 | Fax re: Chung work schedule
8
9 1026 | Employee information
1027 | 8-17-11 Dep. Smith email to Lt. 6/12/14 6/12/14
10 Thompson re: Chung work schedule
i Nos. 1028 to 1033 - ILB
la 1034 | 8-18-11 Dep. Smith 8:19 a.m. email to 6/12/14 6/12/14
13 Ma re: phone number and visitors
14 | 1034(a) | 8-18-11 Ma email response to Dep. Smith
15 email re: Stewart and visitors
16| 1035 | 8-18-11 Dep. Smith email to Det. Bayes | 5/28/14 6/12/14
re: Brown discipline history
17
1036 | 8-18-11 Dep. Smith email to Det. Bayes, | 5/28/14 6/12/14
18 cc Thompson with Brown account history.
19} 1037 | 8-18-11 Dep. Smith email to Lt. 6/12/14 6/12/14
20 Thompson re: Brown discipline history
91 || 1038 | 8-18-11 Dep. Smith email to Det. Bayes, | 5/28/14 6/12/14
ce Lt. Thompson re: Brown visits
22
1039 | 8-18-11 Lt. Thompson email to Det.
23 Bayes and others re: meeting with
Undersheriff
24
95| 1040 | 8-18-11 Dep. Kirk email to Dep. Smith
26} 1041 | 8-18-11 Dep. Smith Memo to Set.
Gutierrez
27
38 Nos. 1040 — 1052 ILB

 

 

5-26-2014

 
Case poe Document 455 Filed 07/01/14 Page 31 o0f46 Page ID #:4548

 

 

 

 
   

1053 | 8-19-11 Excerpts of Transcript of AB
interview by Dep. Smith and Dep. Manzo

 

1054 | 8-19-11 Petrosian email to Dep. Smith re:
L2G deposits by Norman Miller

1055 | 8-22-11 Ma additional response to 8-18-
11 Dep. Smith email: workup on Stewart

1056 | 8-24-11 Dep. Smith Confidential work
detail email

 

 

 

1057 | 9-9-11 Dep. Smith email chain with Dep.

 

10 Haley
i 1058 | 9-13-11 Dep. Smith security detail email
12

 

1059 | 9-14-11 Dep. Smith email to CDCR
13 Lancaster with Brown judgment

141 1060 | 2900 Shanking Video
15 1061 | LASD Policy — Chain of Command

 

 

 

 

16 Nos. 1056 — 1099 ILB
17

1100 | Det. Bayes 8-26-11 Supplemental Report | 5/28/14
18 approved by Sgt. Reddington

 

19! 1101 | Det. Bayes 8-26-11 Supplemental Report
40 approved by Reddington

91] 1102 | Det. Bayes 8-26-11 Incident Report and | 5/28/14
Supplemental Report (A188345-52)

 

 

 

 

 

 

 

 

22
1103 | Det. Bayes 8-2611 Supplemental Report
23 (A18353-57)
241 1104 | Det. Bayes — Lt. Thompson email chain re
5 case closure
26} 1105 | Det. Bayes case closure supplemental 5/28/14
report
27
1106 | Det. Bayes case closure supplemental
28 report re 339 & 399

 

 

 

5-26-2014 4
Case ia Document 455 Filed 07/01/14 Page 32 of 46 Page ID #:4549

 

 

 

 

nh

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2),
3] 1107 | Det. Bayes 3-20-12 email to Thompson re
4 commendation
5 Nos. 1108-1109 ILB
6 1200 | 8-18-11 email ADIC Martinez, Angelini,
Cockrell
y 1201 | 8-18-11 ADIC Martinez 5:06 p.m. email
8 to Sheriff Baca
9} 1202 | 8-19-11 email at 7:04 pm to ADIC
10 Martinez re: Sheriff Baca
11 | 1203 | 8-25-11 ADIC Martinez email to SSA
Moon — in communication with Sheriff
12
1204 | 8-25-11 ADIC Martinez email to Sheriff
13 Baca want to update
14/ 1205 | ADIC Martinez copied on email re:
15 waiting to hear
16 1206 | ADIC Martinez asked to call re: LASD
17} 1207 | SA Lam memo re ADIC Martinez
notification to Sheriff Baca & Group 1
18 App! discontinued
19 Nos. 1208 - 1209 ILB
20 1210 | SSA Delaney to ADIC Martinez re: cell
21 phone talking points
22}, 1211 | ADIC Martinez to US Atty Birotte re: cell
phone
23
74 1212 | ADIC Martinez email re briefing on
LASD matter
2° 1213 | ADIC Martinez continues to meet with
26 LASD Commanders
27} 1214 | Lt. Peacock to Captain Carey and Lt.
Leavins email re: UC operation and Det.
28 Lyons
5-26-2014 5

 

 
 

 

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oN DD OW FF WN S| DO Dn DB NH BW NPN KF OC

   

 

Nos. 1216 — 1226 ILB

 

1227

Brown arrest report LASD 192652

 

1228

FBI Opening memo

 

1229

9-14-11 - 1040a Source Opening
Communication

 

1230

12-16-10 to 6-18-11 Finley interviews
with UCE

 

1231

7-29-11 to 7-30-11 meetings with UCE

 

1232

CR-1 submitted application for Group 1
Op

 

1233

302 re: Interview at MCJ with UCE

 

1234

ILB

 

1235

8-12-11 Memo to advise PCU of full field
investigation into bribe payments

 

1236

8-14-11 FBI memo to advise investigation

 

1237

8-15-11 email to Cat Moore CHS could
not acknowledge OIA admonishments

 

1238

8-15-11 Maltinsky email to Fitzpatrick
with opening EC and LHM

 

1239

FBI advise to PCU and CR of
investigation

 

1240

8-16-11 Kaupp email to SSA Narro

 

1241

8-18-11 SA Marx email to SSA Narro

 

1242

8-18-11 ADIC Martinez email to SA
Angellini re CHS

 

 

1243

8-22-11 AUSA email re: no meeting

 

 

5-26-2014

 

 

 
Case joe Document 455 Filed 07/01/14 Page 34 of 46 Page ID #:4551

 

 

 

 

     

1244 | 8-23-11 Finley interview by FBI

1245 | 8-23-11 AUSA Middleton USMS Farrar
emails

1246 | 8-24-11 AUSA Middleton to USMS
Farrar emails

1247 | SSA Narro email, 8-24-11

1248 | SSA Narro writ withdrawn Sheriff wants
standstill until meeting

10 1249 | SA Marx email with timeline

 

 

 

 

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WI 1250 | 9-27-11 SSA Narro chronology summary
12 1251 | 9-27-11 SA Marx email with timeline
13
4 1252 | 7-13-11 FBI OIA
1253 | FBI requests NYFO docs re: Brown
15 records from NY
16 1255 | FBI CHS Reporting Document 9/22/11 6/5/14
M7 1256 | FBI CHS Reporting Document 11/4/11
18
19 Nos. 1257 — 1349 ILB
20 1350 | Rathbun IAB Interview
7] 1351 | Rathbun/Sexton Federal civil lawsuit
Complaint
22

1352 | Rathbun/Sexton LA Superior Court civil
23 lawsuit Complaint

24] 1353 | Audio — Rathbun call 8-17-
25 2012 _055820PM

6 | 1353(a) | Transcript — Rathbun call 8-17-
2012 055820PM

1354 | Audio 8-20-2012 081455PM

 

 

 

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Case 2)13-cr-00819-PA Document 455 Filed 07/01/14 Page 35o0f46 Page ID #:4552

 

 

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NY NY NY NHN NY NY NHN NY HN & Be we Be eH He Se ew Ye
ao nN DM FP YD NH KH DO DOW aH HD nH BP WD HH KF OC

1354(a)

a
Transcript Rathbun call 8-20-

2012_081455PM

  
   

 

1355

Audio Rathbun call 8-20-
2012_121940PM

 

1355(a)

Transcript — Rathbun call 8-20-
2012 121940 [2]

 

1356

Audio - Rathbun call - 10-09-
2012 023313PM

 

1356(a)

Transcript - Rathbun call - 10-09-
2012_023313PM

 

1357

Audio — Rathbun call - 10-09-
2012 _084710PM

 

1357(a)

Transcript Rathbun call - 10-09-
2012_084710PM

 

1358

Rathbun San Dimas Shifts Summary

 

1359

Weekly Time Cards Summarized by
Exhibit 1358

 

Nos. 1360 — 1399 ILB

 

1400

Audio recording of Brown call on 7/18/ il
to 310-996-4174

6/12/14

6/12/14

 

1400(a)

Transcript of 7/18/11 call

6/12/14

 

1401

Audio recording of Brown call on 7/19/11
to 310-996-4174

6/12/14

6/12/14

 

1401(a)

Transcript of 7/19/11 call

6/12/14

 

1402

Audio recording of Brown call on 7/21/11
to 310-996-4174

 

1402(a)

Transcript of 7/21/11 call

 

Nos. 1403 — 1409 ILB

 

1410

 

Excerpts of Medical Records

 

 

 

 

5-26-2014

 
 

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5-26-2014 9

 

 
Case 2

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NN NR RO a ea ea ea a

 

 

MICHAEL P. STONE, SBN 91142

MUNA BUSAILAH, SBN 166328,

ROBERT RABE, SBN 72312, members of

STONE BUSAILAH, LLP

A Partnership of Professional Law Corporations

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Pasadena, California 91105

Telephone: (626) 683-5600

Facsimile: (626) 683-5656

Attorneys for Defendant, SCOTT CRAIG

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, CASE NO. CR-13-819-PA
Plaintiff, SECOND AMENDED EXHIBIT
Vs. LIST OF SCOTT CRAIG
GREGORY THOMPSON, et al., .
Trial: May 27, 2014
Defendants. Time: 8:30 A.M.
Courtroom: 15
Scott Craig, by counsel, submits the following list of trial exhibits.
Dated: May 28, 2014 STONE BUSAILAH, LLP
By: /s/ Michael P. Stone
MI EL P. STONE
Attorneys for SCOTT CRAIG

 

 
Case 2

 

 

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aoa AND nA FF WH KF DO Wn DWN BR WH HH HO

2001

EXHIBIT LIST

LASD Investigation Report No. 911-
00024-2003-441

6/18/14

    

 

2002

Proposed Order For Records, LASC

 

2003

Memorandum re Judge Torribio, April 9,
2014

 

oO SN DH WA BP WW NH &

2004

Transcript (Craig, Long and Marx) Audio
Recording, September 26, 2011

 

2005

FBI 302, Interview of Captain Tom Carey

 

2006

LASD Memorandum, Carey to Baca,
August 9, 2011

 

2007

Memorandum re Sergeant Michael Bailey

 

2008

Email, Craig to Leavins, October 3, 2011

 

2009

Transcript Voice Message, September 9,
2011, Craig to Marx (see Exhibit 2012)

 

2010

September 26, 2011 Letter from Baca to
Birotte

 

2011

Transcript of September 26, 2011
Craig/Long Contact with Leah Marx

 

2012

Audio Recording (CD) of September 9,
2011 Voice Message, Craig to Marx (see
Exhibit 2009)

 

2013

Transcript of August 23, 2011 Interview
of Brown (Carey, Leavins, and Smith)

 

2014

Transcript of August 24, 2011 LASD
Interview of Brown (Craig, Leavins,
Long, Manzo, and Smith)

 

2015

 

Transcript of August 26, 2011 ICIB
Interview of Brown (Craig, Long, and
Weber)

 

 

 

 

 
 

Case |

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2)
3 2016 | Transcript of August 30, 2011 ICIB
Interview of Michel (Craig, Leavins, and
4 Long) (Part 1 of 2)
>| 2017 | Transcript of August 30, 2011 ICIB
6 Interview of Michel (Craig, Long, Lopez,
and Weber) (Part 2 of 2)
7
2018 | Transcript of September 13, 2011 ICIB
8 Interview of Michel (Craig and Long)
9! 2019 | E-mail from Craig to Leavins, October 3,
10 2011 at 3:24:21 p.m.
11 2020 | Memorandum re Sergio Gonzalez, April
8, 2014
12
3 2021 | Transcript of Michel ICIB Interview 6/4/14
4 2022 | Transcript of Michel ICIB Interview 6/4/14
15| 2023
16| 2024 | Copy of document provided by Anthony | 6/18/14 6/18/14
Brown to Scott Craig
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Cane 2:13-cr-00819-PA Document 455 Filed 07/01/14 Page 40 of 46 Page ID #:4557
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Attorney at Law
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Attorneys for Defendant
7|) Maricela Long
8
9
10 UNITED STATES DISTRICT COURT
11 CENTRAL DISTRICT OF CALIFORNIA
12 WESTERN DIVISION
13
14 UNITED STATES OF AMERICA, Case No. CR 13-00819-PA-7
Plaintiff,
15 DEFENDANT MARICELA LONG’S
V. LIST OF POSSIBLE TRIAL
16 EXHIBITS
7 Maricela Long,
18 Defendant.
19
20
21
22 Defendant, Maricela Long, by and through her counsel of record, Angel Navarro
23 | | hereby submits her current list of possible trial exhibits.
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76 || Dated: May 27, 2014 Respectfully Submitted,
27
/s/
Angel Navarro

 

 

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DATE

IDENTIFIED ADMITTED

 

 

EXHIBIT NUMBER DESCRIPTION DATE
2501 Sanyo Cell Phone
2502 Anthony Brown
payment summary
2503 BOP Inmate history
form for Anthony Brown
2504 FBI Law Enforcement Bulletin
Cell Phones as Prison
Contraband
2505 Phone Examination Report
2506 Phone Outgoing Calls List
2507 Emails: Leah Marx
2508 Audio Recording of Michel Interview 6/19/14
2509 Transcript of Michel Interview 6/19/14

6/19/14

 
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1 || ANDRE BIROTTE JR.

United States Attorney

2 || ROBERT E. DUGDALE

Assistant United States Attorney

3 || Chief, Criminal Division

BRANDON D. FOX (Cal. Bar No. 290409)

4 ||Deputy Chief, Public Corruption and Civil Rights
LIZABETH ANN RHODES (Cal. Bar No. 155299)
5 ||/MARGARET L. CARTER (Cal. Bar No. 220637)
Assistant United States Attorney

6 || Public Corruption and Civil Rights Section
1300 United States Courthouse

7 312 North Spring Street
Los Angeles, California 90012
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. Lizabeth.Rhodes@usdoj .gov
10 Maggie.Carter@usdoj.gov

11 |}Attorneys for Plaintiff
UNITED STATES OF AMERICA

 

 

 

12
: UNITED STATES DISTRICT COURT
ry
FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
UNITED STATES OF AMERICA, No. CR 13-819-PA
15
Plaintiff, GOVERNMENT'S WITNESS LIST
16 ,
Vv. [18 U.S.C. § 371: Conspiracy;
17 18 U.S.C. § 1503(a): Obstruction
GREGORY THOMPSON, of Justice]
18 |} STEPHEN LEAVINS,
GERARD SMITH, Trial Date: May 21, 2014
19 ||MICKEY MANZO, Trial Time: 8:30 p.m.
SCOTT CRAIG, Location: Courtroom of the
20 ||MARICELA LONG, Hon. Percy Anderson
21 Defendants.
22
23 Plaintiff United States of America, by and through its counsel

 

24 |/of record, the United States Attorney for the Central District of
25 |}California and Assistant United States Attorneys Brandon D. Fox,

26 ||Lizabeth A. Rhodes, and Margaret L. Carter, hereby files its Witness

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Sheriff's

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The government may call the following witnesses in its case in

Investigation 6 /iof 14

Government’s Witnesses List

Peter Angelini, Federal Bureau of Investigation
Steve Martinez, formerly of the Federal Bureau of @pirfa
Robert Bayes, Los Angeles County Sheriff's Department gf] sofa

t

Michelle Miller, Los Angeles County Sheriff's Department J aaj

Noah Kirk, Los Angeles County Sheriff's Department 6fiz//4

—
—

David Royston, Los Angeles County Sheriff's Department s |x

Cecil Rhambo, Los Angeles County Sheriff’s Department

David Dahle, Federal Bureau of Investigation 5 |28|4+ 5
Judy Gerhardt, Los Angeles County Sheriff’s Department Sfo ff
Michael Rathbun, Los Angeles County Sheriff's Department
Yolanda Baines, former contractor with the United States
Service. J. [eaftf , choo f4

Gus Academia, Los Angeles County Sheriff's pepartment 5 [2O\l4
Pat Libertone, Los Angeles County Sheriff's Department
Tara Adams, Los Angeles County Sheriff's Department 5/2 ff
Dollerie Brown, Los Angeles County Sheriff’s Department
Ryan Ortiz, Los Angeles County Sheriff's Department [3/4
James Sexton, Los Angeles County Sheriff’s Department
Jason Pearson, Los Angeles County Sheriff's Department SPN
Charles Kunz, Los Angeles County Sheriff's Department
Anthony Brown

Gilbert Michel, formerly of the Los Angeles County
Department 6 [214 ; 6/iyy

Min Her, Los Angeles County Sheriff's Department

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23. William David Courson, Los Angeles County Sheriff's
Department ole ex
24. John Torribio, Los Angeles County Superior Court

25. Ruben Martinez, formerly of the Los Angeles county &/p/)4

Sheriff’s Department | of"
26. Leah Marx, Federal Bureau of Investigation b[uly c alle
27. Casey McDonald, Federal Bureau of Investigation

28. Tamara McKen, Federal Bureau of Investigation &/bfi~Gd. Test:

Mahice CRILDS
29. Mark-Aveis, United States Attorney’s Office! G/¥/14

30, KKaTHY VOYEeR - 6 /3/I¥

Dated: May 20, 2014 Respectfully submitted,

ANDRE BIROTTE JR.
United States Attorney

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

/s/ Brandon D. Fox
Brandon D. Fox
Lizabeth A. Rhodes
Margaret L. Carter
Assistant United States Attorneys

Attorneys for Plaintiff
UNITED STATES OF AMERICA

 

* Although not finalized, Special Agent McDonald, Special Agent

McKen, and AUSA Aveis are expected to be witnesses who read the sworn
testimony of the defendants to the jury.

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‘A

Ruby Branch

Dennis Burns

William (Tom) Carey (| | | (‘| joie

| Carlos Castillo

Jason Colon
Sostin

Weteree Crumlish
Joseph Eiland

Daniel Fedele

Stephanie Fredericks
Michael Genacco C// 2// cd
William Gilbert

David Gutierrez
Sterling Haley bf 2 [ if
Francis Hardiman
Francis Kenney

Terri Kopp

Lamar LaFave

Calvin Lane

Rebecca Lee ©

Mark Lillenfeld 6 [2 hg

Gus Lopez Ni doagk Bax oleh
Dorothy Love A A Te | op

Robert Lyons Co VD i Ht Cc
Edward Matzen Paro 6 /o/ey

Lawrence eto y Mol | 0
SB, Wich | Sama.

Carlos Natro ,
elie Lica Thentos
Chris Nee

Sheri Panzone

/. Parra
ason Pearson

Greg Sivard

Paul Tanaka e-& “IE, bhro]t/

Elliel Texeira
Wayne Waterman

Paul Yoshinaga
Andre Bi cotte

Todd Weber

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—Lepo “. Bacw

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Case 2:18-cr-00819-PA Document 455 Filed 07/01/14 Page 46 of 46 Page ID #:4563

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